Case 1:11-cr-00025-TWP-TAB            Document 714           Filed 11/12/13    Page 1 of 3 PageID #:
                                             2396

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                              )
                                                         )
                                Plaintiff,               )
                                                         )
                       vs.                               )    Case No. 1:11-cr-00025-TWP-TAB-6
                                                         )
  ABEL CANO-CASTILLO also known as TIO,                  )
                                                         )
                                Defendant.               )


               Entry Directing Treatment of Document and Further Proceedings

                                                   I.

          This matter is before the Court on Defendant’s Motion for Completion of Sentence (Dkt.

 709) and Supplement Motion for Completion of Sentence under Home Detention for an Early

 Deportation (Dkt. 713). The Defendant is proceeding pro se and asks the Court to liberally

 construe his pleadings and not hold him to “technical court rules and procedures.” However, the

 generous treatment accorded pro se litigants does not exempt them from both the substantive and

 procedural rules of law and does not authorize a separate set of rules for them. See Averhart v.

 Arrendondo, 773 F.2d 919 (7th Cir.1985).

          “A post-judgment motion [in a criminal action in federal court] needs a source of

 authority for the judge to act . . . .” United States v. Scott, 414 F.3d 815, 816 (7th Cir. 2005). This

 is because “[a] district court does not have inherent authority to modify a previously imposed

 sentence; it may do so only pursuant to statutory authorization.” United States v. Mendoza, 118

 F.3d 707, 709 (10th Cir. 1997); see also United States v. Krilich, 257 F.3d 689, 693 (7th Cir.

 2001).




                                                   1
Case 1:11-cr-00025-TWP-TAB           Document 714        Filed 11/12/13      Page 2 of 3 PageID #:
                                            2397

        A motion pursuant to 28 U.S.C. ' 2255 is the presumptive means by which a federal

 prisoner can challenge his conviction or sentence. See Davis v. United States, 417 U.S. 333, 343

 (1974). This statute allows a court to grant relief from a federal conviction or sentence “upon the

 ground that the sentence was imposed in violation of the Constitution or laws of the United

 States, or that the court was without jurisdiction to impose such sentence, or that the sentence

 was in excess of the maximum authorized by law, or is otherwise subject to collateral attack.” 28

 U.S.C. § 2255(a).

                                                 II.

        Liberally construed, the Defendant’s “motion for completion of sentence” and

 “supplement motion for completion of sentence under home detention for an early deportation”

 both seek modification of his sentence. Specifically, the Defendant claims that he was provided

 ineffective assistance of counsel in negotiating his plea agreement and that he has been denied

 equal protection as guaranteed by the Constitution.

        Any motion filed in the district court that imposed the sentence, and substantively within

 the scope of § 2255(a), is a motion under § 2255, no matter what title the petitioner plasters on

 the cover. Melton v. United States, 359 F.3d 855, 857 (7th Cir. 2004) (internal citations omitted).

                                                III.

                                                 A.

        Because the first step in the circumstances described above is a procedural one, the clerk

 shall docket, as a new filing on this date, the Supplement Motion for Completion of Sentence

 under Home Detention for an Early Deportation (Dkt. 713) as a motion to vacate pursuant to

 28 U.S.C. § 2255. The nature of suit code for the new action is 510 and the cause of action is 28

 U.S.C. § 2255. When composing the caption, the Defendant shall be the movant and the United

 States of America shall be the defendant.


                                                  2
Case 1:11-cr-00025-TWP-TAB               Document 714           Filed 11/12/13        Page 3 of 3 PageID #:
                                                2398

                                                       B.

         Insofar as entered on the docket in this action, the pending motions (Dkt. 709 and 713)

 must be DENIED, although the supplemented motion (Dkt. 713) shall be re-docketed in the new

 action upon being processed as directed in Part III.A. of this Entry.

         IT IS SO ORDERED.
                                                               ________________________
                                                               Hon. Tanya Walton Pratt, Judge
         11/12/2013                                            United States District Court
 Date: __________________
                                                               Southern District of Indiana

 Note to Clerk: Processing this document requires actions in addition to docketing and distribution.




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